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       EXHIBIT A
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    500 Campus Drive, Suite 303
    Morganville, New Jersey 07751
    {732)536-6161
    Attorneys for Plaintiff Crystal Sanchez

   By: Stephan T. Mashel, Esquire
       Attorney ID, No. 03185-1986
                                                     SUPERIOR COURT OF NEW JERSEY
      CRYSTAL SANCHEZ,
                                                     LAW DIVISION
                                        Plaintiff,
                                                     MIDDLESEX COUNTY
      v.                                             DOCKET NO: MÍD-L-3969-17
      SANTANDER BANK, N.A., a subsidiary                          Civ» Action
      of Santander Holdings USA Inc.; GHOUS
      AGHA; NADIA JOSEPH; KRISTEN
      RIMEK; JOHN & JANE DOE 1*10; XYZ               SUMMONS
      CORPORATION (M0),
                                 Defendants.


                                 THE STATE OF NEW JERSEY
                                            TO:
                                       NÁDIA JOSEPH

         YOU ARE HEREBY SUMMONED in a Civil Action in the Superior Court of New Jersey,
instituted by the above named platntiff(s), and required to serve upon the attorney for the
plaintiff(s), whose name and office appears above, an answer to the attached complaint within 35
days after service of the summons and complaint upon you, exclusive of the day of service. If you
fait to answer the Complaint, a judgment may be entered against you for the relief demanded,
plus interest and costs of suit. If you fail to answer» judgment by default may be rendered against
you for the relief demanded in the complaint. You shall promptly file your answer and proof of
service thereof with the Clerk of the Superior Court, Middlesex County located at 56 Paterson
Street, New Brunswick, New Jersey in accordance with the rules of civil practice and procedure.

        If you cannot afford to pay an attorneyt call a Legal Services Office. An individual not
eligible for free legal assistance may obtain a referral to an attorney by calf ing a county lawyer
referral service. The phone number for the county in which this action is pending is; 732-869-
4463.

                                                 Mtcfaue M,&nít& /s/
Dated: July 6, 2017                              Mieheite M. Srnitft

Name of Defendant to be served:                  Nadia Joseph
                                                 C/O Santander Bank, N.A.
                                                 920 Route 9
                                                 South Amboy, New Jersey 08879
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                                                      SUPERIOR COURT OF NEW JERSEY
      CRYSTAL SANCHEZ,                                LAWDJViSION
                                      Plaintiff,      MIDDLESEX COUNTY
      v.                                              DOCKET NO:
      SANTANDER BANK, NA, a subsidiary                            Civil Action
      of Santander Holdings USA,
      lnct;GHQUS AGHA; NADIA JOSEPH;
      KRISTEN RIMEK; JOHN & JANE DOE 1-               COMPLAINT AND JURY DEMAND;
      10; XYZ CORPORATION (1-10),                     NOTICE PROHIBÍTÍNG SPOLIATION
                                                      OF EVIDENCE; DEMAND FOR
                                     Defendants.      PRODUCTION OF DOCUMENTS;
                                                      PLAINTIFF'S FIRST SET OF
                                                      INTERROGATORIES


           PlaJntiffCrystal Sanchez, residing in the County of Middlesex, State of New Jersey, by
 way of Complaint against Defendants Santander Bank, N.A,>a subsidiary of Santander
 Holdings USA, Ghous Agha, Nadia Joseph, Kristen Rirnek, John Doe 1-10, and XYZ
 Corporations (1-10),. hereby says:


     I.        IDENTIFICATION OF THE PARTIES


1,         Defendant Santander      Bank, N.A.,a subsidiary of Santander           Holdings
                           >
           USA("S8ntander ')j at all times relevant hereto, provides banking products and
           services, and operates 674 branch offices in various states throughout the United
           States including one located at 920 Route 9, South Amboy, New Jersey,
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 2.      Defendant Ghous Agha fAgba") is, at all times relevant hereto* employed by
         Santander as a bank teller at its branch located at 920 Route 9, South Amboy,
         New Jersey, and upon information and belief, resides in the State of New Jersey.

 3.      Defendant Nadia Joseph (Joseph") is, at ail times relevant hereto, employed by
         Santander as a District Manager, and upon information and belief, resides in the
         State of New Jersey,

 4.      Defendant Kristen Rimek f Rimek") is, at all times relevant hereto, employed by
         Santander as a Branch Manager at its branch located at 920 Route 9, South
        Amboy, New Jersey, and upon information and belief, resides in the State of New
        Jersey,

5.      Defendants John and Jane Does (1-10) and XYZ Corporations (1-10). are
        fictitious   names   for   any   presently   unknown   personís),   corporatiorKs),
        partnershipís), business and/or entity who, at times relevant hereto, incited,
        aided and/or abetted Defendants Santander, Agha, Joseph and Rimek, jointly or
        severally, in the unlawful conduct Plaintiff Crystal Sanchez was subjected to as
        alleged in the paragraphs of this Complaint.


6.      Plaintiff Crystal Sanchez ("Sanchez") is, at all relevant times, employed by
        Santander as an Operations Managerat its branch located at 920 Route 9, South
        Amboy, New Jersey.


      II. GENERAL ALLE0ATÍ0NS

7.      In or about July- August 2014, Sanchez began working for Santander at its
        branch located at 920 Route 9, South Amboy, New Jersey as a Part Time Teller.


8.      In or about September or October 2014 Sanchez was promoted to Full Time with
        a pay decrease.


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 9,           In or about November 2014 the branch Operations Manager quit so Sanchez
              began performing the duties of an Operations Manager while still being paid as a
          teller,


 10,      In or about February 2016 Sanche? was promoted to Operations Manager
          earning $14.81 per hour,


11.       Sanchez was an Operations Manager for Santander from February 2016 until her
          employment with Santander ended on or about August 5,2016.

       III.       ALLEGATIONS AS         TO PLAINTIFF'S WAGE AND HOUR LAW
                  VIOLATION CLAÍMS

12,      Soon after she was promoted to Operations Manager, Sanchez was informed the
         bank's scorecard policy had changed.


13,      Sanchez was told the changing of the bank's scorecard meant her working
         overtime i.e., more than 40 hours per workweek, would no longer be permitted.


14.      Sanchez was also told that as Operations Manager the bank's scorecard would
         be her responsibility and that if the score was not good it would affect her
         incentive and bonus,

15.      Sanchez requested the branch to hire more employees, or at least receive help
        from other branches, since it would not be possible to effectively operate the
        branch while at the same time avoiding working overtime with only two other
        persons in additional to herself who could perform the duties of a teller; one of
        whom was only a part time teller.


16.     Sanchez would send out emails to the District Manager asking for additional
        teller help for the branch only to be told that the other bank branches were
        understaffed as well.

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 17.       Because of the short staffing and the prohibition on working overtime, Sanchez
           left Compelled to work 1.0-12 hours per week off the clock, ie,( uneompensated»
           so that the branch would be able to effectively serve its customers.


 18.       The Regional Operations Manager Stephanie Stone, Joseph, and Rimek were
           actually or constructively aware that Sanchez was working 10-12 hours per week
           uncompensated off the clock, and yet did nothing to change this unlawful and
           unfair circumstance.

19.        By their failure to act Joseph» Rimek, and Santander approved, ratified, and
           otherwise condoned Sanchez working 10-12 hours per week uncompensated off
       the clock.


20.    Working 10-12 hours per week uncompensated and off the clock, has and
       continues to cause Sanchez significant financial loss and mental and emotional
       anguish.


       IV. ALLEGATIONS AS TO PLAINTIFF'S SEXUAL HARASSMENT CLAIM

21.    Towards the end of February 2016, Ghous Agha was hired as a bank teller,


22.    As Operations Manager» Sanchez supervised Agha.


23.    After Agha began working for Santander he subjected Sanchez to unwelcome
       sexually offensive and gender based behavior including, but not limited to, the
       following:


       •        Repeatedly offering to buy Sanchez food after she told him not to do so;
       •        Repeatedly making sexually offensive and unwelcome remarks about
                Sanchez's body including her legs, buttock, face, and petite shape;
       «        Offering to rub hot oil on Sanchez's body;

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       *     Being rude, annoying, disrespectful, and insubordinate towards
             Sanchez such as telling her she was "too serious" and should learn to
             have "fun," and telling customers how he hated Sanchez as his
             supervisor because he hates having to report to a female Just a few
             years older than him.

24.   Sanchez reported Agha's sexually offensive and gender Inappropriate behavior
      to branch manager Rimek.

25.   Because of Agrta's sexually offensive and gender inappropriate behavior,
      Sanchez requested Rimek to put a stop to Agha's sexual harassment of her.

26.   Despite Sanchez requesting Rimek to take remedial action against Agha< Rimek
      did not.

27.   Despite reporting Agha's unwelcome sexually offensive and gender inappropriate
      behavior to branch manager Rimek, Rimek failed to undertake timely and
      reasonable measures to put a stop to the sexual harassment and hostile work
      environment Aghá created for Sanchez,

28.   Upon information and belief, Rimek informed district manager Joseph of Sanchez
      complaining that Agha was subjecting her tounwefcome sexually offensive and
      gender inappropriate behavior.

29.   Despite Joseph learning of Agha's sexually offensive and gender inappropriate
      behavior, Joseph failed to undertake timely and reasonable measures to put a
      stop to the sexual harassment and hostile Work environment Agha created for
      Sanchez




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 30,    Upon information and belief, Rimek informed Santander's Human Resources
        Department (HR) of Sanchez complaining that Agha was subjecting her to
        sexually offensive and gender inappropriate behavior.
31, Other than giving Agha a written warning, which did not stop his sexually offensive and
    gender inappropriate behavior, Santander failed to undertake timely and reasonable
    measures to put a stop to the sexual harassment and hostile work environment Agha
    created for Sanchez,
32,    Santander failed to engage in a timely and effective investigation of complaints of sex
       and/or gender based harassment brought to its attention, by Sanchez.
33,     Joseph failed to engage in a timely and effective investigation of complaints of sex
       and/or gender based harassment brought to its attention by Sanchez.
34, Rirne'k failed to engage in a timely and effective investigation of complaints of sex
    and/or gender based harassment brought to its attention by Sanchez,

35,    Santander failed to undertake prompt and effective remedial measures to put a stop to
       the sex and/or gender based harassment caused to Sanchez by Agha.

36,    Joseph failed to undertake prompt and effective remedial measures to put a stop to
       the sex and/or gender based harassment caused to Sanchez by Agha

37,    Rimek failed to undertake prompt and effective remedial measures to put a stop to the
       sex and/or gender based harassment caused to Sánchez by Agha

38,    Agha's sexually offensive and gender inappropriate behavior towards Sanchez
       caused Sanchez great mental and emotional distress.




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 39.    The failure of Rimek, Joseph, and Santander to undertake timely and reasonable
        measures to put a stop to the sexual harassment and hostile work environment
        Agna created for Sanchez, Sanchez has and continues to suffer from great
        meritat and emotional distress.


40.     The failure of Rimek, Joseph and Santander to undertake timely and reasonable
        measures to put a stop to the sexual harassment and hostile work environment
       Agha created for Sanchez, Sanchez has and continues to suffer from great
       mental and emotional distress.


41.    Because of Agha's sexually offensive and gender inappropriate behavior towards
       Sanchez and the failure of Rimek, Joseph, and Santander to undertake timely
       and reasonable measures to put a stop to the sexual harassment and hostile
       work environment Agha created for Sanchez, Sanchez sufferecJ mental and
       emotional distress, became physically ill, and was required to seek medical
       evaluation and treatment.


       V. ALLÉGATÍONS AS TO PLAíNTÍFFS WHÍSTLEBLGWíNG CLAIM


42.    When Agha       started   working    as   a teller,   Sanchez; noticed   bills   in
       largedenominations stored in the vault were depleting at an alarming rate and
       themoney was not lasting the full weekas it usually did. Sanchez reported to
       Rimek
       her suspicions that Agha was the cause of the depletion of large denominations
       in the vault, that is, he was embezzling money from the bank.


43.    To confirm her suspicions, Sanchez informed Kirsten that she would arrange for
       Agha to come to work on a day he did not normally work she that she could audit
       him.




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 44.    On the date of Agha's audit, Sanchez instructed him not to open his cash drawer
        at his teller window after which she left him to inform Kfrsten that she would be
        auditing Agha's cash drawer.

 45.    When Sanchez returned to Agha's teller window to perform the audit, Agha had
        JeflA few minutes later Sanchez received a text message from Agha stating he
        forced batáflCédhis cash drawer,

46.    Sanchez reported what had occurred to Rimek and requested her to audit Agha's
       cash box under dual control.

47.    Agha never returned to work at Santander,

48.    Thereafter, Sanchez and Kirsten performed a dual control audit of Agha's cash
       draw and discovered almost $8,000.00 was missing. The results of the audit
       were reported to Santander's compliance office,

49.    A few weeks later Rimek informed Sanchez that HR had contacted her, and
       asked if Agha had ever complimented Sanchez or shown a romantic interest in
       Sanchez,

50.    Rimek advised Sanchez that Rimek had informed HR of Sanchez's sexual
       harassment complaints against Agha and their suspicions that Agha had
       embezzled money from the bank.


61.    Several days after her conversation with Rimek, HR came to the branch to
       question Sanchez. They told her that Agha had made multiple accusations
       against her including an allegation that Sanchez had sexually harassed Agha
       and at one point tried to have sex with him but he refused.

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 52.    HR also informed Sanchez of Agha's claim that Sanchez was a racist and that
        the audit of his cash drawer was nothing more than a set up by Sanchez to make
        him look bad in the eyes of the bank,

 53.    Sanchez informed HR that all of Agha's claims were nothing more than
        outlandish lies.

54,     HR instructed Sanchez she was not to talk to anyone about Agha's claims or
       HR's investigation, and if she did so, Sanchez would be subject to an immediate
       job termination.

55.    HR made Sanchez feel as if she had done something wrong and Agha was the
       true victim,

56,    Following her instructions with HR, management, and coworkers questioned
       Sanchez asking if Agha's allegations were true. For example, Rimek was present
       when the Regional Operations Manager Stephanie Stone asked Sanchez if
       Agha's allegations about her attempting to have sex with him were true,

57,    Sanchez could not respond to the Regional Operations Manager or anyone else
       asking her questions about Agha's claims because to do so would have violated
       HR's instructions to her and risk the loss of her job,

58,    Making Sanchez's work environment even more hostile, Rimek warned Sanchez
       to be "careful" because she was being "watched."

59.    Thereafter, Rimek informed Sanchez that she learned from speaking with
       someone at Capital One, Agha's prior employer* that they believed Agha had
       stolen money from Capital One while working for them.

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 60,   Apparently, Santander did not do an adequate background and reference check
       before hiring Agha. Had they done so, Agha would not have been hired and
       Sanchez would not have had to endure the malicious, wanton, and willful
       behavior he directed at her.

61,    Santander and its HR Department never informed Sanchez that theretaliatory
       false accusations Agha made against her were found to be without merit.
       Because of this willfully indifferent omission on the part of Santander, Sanchez
       has and continues to suffer from severe mental and emotional distress.

62,    Sanchez later teamed from Rimek that Santander had never reported Agrm's
       theft of monies from the bank to the police.

63,    Sanchez suffered retaliation for having disclosed the theft of money committed
       by Agha. For instance, by the time the second quarter of 2016 ended, Sanchez
       had opened close to 50 new bank accounts. When she received her incentive
       bonus, Sanchez discovered that she had only been paid a bonus for about 24
       accounts and did not receive the bonus operation managers get quarterly.
64,    When Sanchez went to Rimek and questioned why she had not been given an
       incentive bonus commensurate with opening close to §0 new bank accounts, she
       was told it wasbecause the bank employee who opened the accounts on the
       system made too many errors.
65,    Because of Santander's retaliatory conduct, Sanchez has and continues to
       sustain economic loss and suffer from severe mental and emotional distress




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        VI,    ALLEGATIONS AS TO PLAINTIFFS CLAIMS OF FRAUDULENT
               INDUCEMENT AND PROMISSORY ESTOPPEL

 66.    Before accepting the position of Operations Manager in or about February 2016,
        Sanchez engaged in negotiations with Joseph regarding what the position's pay
        rate would be.


67.     Sanchez believed that the offered pay rate was insufficient considering the
       duties, responsibilities and understaffing at the branch; she had performed the
       duties of the position out of title for the two months prior and was practically
       performing the jobs of two to three employees at all times. As such, Sanchez
       emphasized from the very beginning of negotiations that pay was her primary
       concern.


68.    Sanchez initially requested pay at the rate of $16,QO/hour, which she learned was
       the minimum standard rate of pay for the position.


60,    Joseph refused and countered with approximately $14.Q3/hour,


70.    It was eventually agreed between Sanchez and Joseph that Sanchez would
       begin working for $14.81/hour subject to and with the express understanding
       Sanchez would receive a raise to $16.yQ/houf in six months so long as she
       doubled her sales and maintained sound operations within the branch as she had
       been.


71.    F^or the next six months Sanchez worked tirelessly and effectively for Santander.


72.    Sanchez more than doubled her safes and maintained excellent bank operations,
       despite her worsening medical condition and the inadequate assistance.




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 73.    Shortly before the six-month period ended, Sanchez asked Joseph if she would
        be receiving the raise since she met her end of the negotiated bargain,

 74,   in response, Joseph tried to manipulate and intimidate Sanchez by asking her
       what Sanchez would do If Joseph refused to give her the promised raise, and
       why she shouidni expect Sanchez to come back in another six months and
       demand another raise (as was her lawful right).

75     Despite the clear promise and agreement between them, Joseph reneged on her
       promise and breached their agreement by refusing to grant Sanchez the raise.

76,    Joseph never had any intention of honoring the promises and agreement she
       made with Sánchez,
77,    Joseph made misrepresentations to Sanchez solely to induce Sanchez into
       accepting the Operations Manager position fora lower rate of pay than Sanchez
       wanted.
78,    Because of Joseph's intentional and knowing misrepresentations, Sanchez has
       and continues to sustain economic loss and suffer from severe mental and
       emotional distress.


       VII. ALLEGATIONS AS TO PLAINTIFF'S CLAIMS FOR DISABILITY
            DfSGRiWINATION  AND    WORKERS COMPENSATION  CLAIM
            INTERFERENCE AMD RETALIATION

79.    On April 13, 2016, Sanchez requested a day off work from Rimek so that she
       could seek medica! treatment, She went to JFK Medical Center where she was
       diagnosed with vertigo, headaches, nausea and vomiting, and gastritis.

80,    Following her visit, she took an extra day off as recommended by hertreating
       physician,

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81.    When Sanchez returned to work, she reported her condition to Rimek and
       provided her with a doctor's note explaining and excusing her absences.

82.   Several days later, Joseph conducted a routine branch visit and heard about
      and/or discovered the note.

83.   Instead of expressing empathy or concern about Sanchez's hospitalizaron, she
      instead reprimanded both Sanchez and Rimek for discussing Sanchez's medical
      issues at work.

84.   Joseph told Sanchez and Rimek that they were not to discuss Sanchez's medical
      condition otherwise Joseph and Rimek would be required to report Sanchez's
      medical condition to the bank's HR Department and the bank's workers
      compensation carrier,

85.   Joseph directed Rimek to throw Sanchez's doctor's note into the trash directly in
      front of Sanchez, which Rimek did.


86.   Thereafter, Sanchez reasonably felt compelled to deal with her medical condition
      on her own, and to not seek help from her employer for fear of facing the wrath of
      Joseph and an adverse employment action, However, Sánchez continued t°
      update Rimek regarding Sanchez's ongoing and worsening physical, mental, and
      emotional condition.




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 87.    Because Santander failed to provide Sanchez with workers1 compensation
        benefits after she informed Joseph and Rimek of her work-related stress and
        anxiety symptoms and need for medical treatment, Sanchez's medical condition
        further worsened and eventually became disabling.

88.     Because Santander, Joseph, and Rimek failed to provide Sanchez with a
        reasonable accommodation of art authorized medical leave so that she could
        receive treatment for her work-related stress and anxiety symptoms and need for
       medical treatment, Sanchez's medical condition further worsened and eventually
       became disabling.



       Vll.   ALLEGATIONS OF CONSTRUCTIVE DISCHARGE AND
              EMOTIONAL DISTRESS DAMAGES RELATED TO ALL CLAIMS


89.    In or around November2015, Sanchez's psychological distress and physical
       symptoms began to manifest themselves. Around that time, she initially
       experienced nausea and vomiting, headaches, and loss of appetite. These
       symptoms occurred occasionally for several months, but began occurring more
       frequently and with greater severity in April 2016.


90.    Between April 2016 and August 2016, Sanchez's physical and mental health
       further deteriorated.


91.    Because of the unlawful conduct Santander, Joseph, and Rimek as discussed in
       the previous paragraphs of this Complaint, Sánchez work conditions had become
       intolerable with her experiencing memory loss, blurred vision, blackouts of her
       vision, and loss of cognitive and motor functions. For example, she was
       frequently unable to stand up or walk straight without stumbling around or into
       walls, and she had problems talking without forgetting what she was saying, or
       involuntarily switching between English and Spanish in conversations at work.


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 92.    Consequently, Sanchez felt compelled to inform Joseph and Rimek that she was
        resigning her position of employment with the ban effective close of business on
        Friday, August 5,2016.

 93.   Oh or about Friday, August 5, 2016, Sanchez went to work and told Rimek about
       her previously mentioned symptoms and how poorly she was feeling, Rimek told
       Sanchez that she could leave work early,

94;    Later that same day of August S, 2016, Sanchez went to a walk-in Urgent Care
       Center for evaluation, and the doctor referred there referred her to be evaluated
       by a Neurologist,

95»    On Saturday, August 6, 2016, Sanchez went to the emergency room at JFK
       Hospital in Edison, New Jersey because of experiencing uncontrollable vomiting
       and feeling as if she was going to black out.

96,    On Monday, August 8,2016f Sanchez went to a Neurologist and followed up with
       the doctor at the Urgent Care Center. She was told she was suffering from
       severe anxiety and major depression and that she should see start treating with a
       psychotherapist,

97,    The doctor at the Urgent Care Center further recommended Sanchez not return
       to work because of the stress she was enduring there,

98,    Thereafter, Sanchez went to see Rimek at the branch and informed of her
       medical condition and doctor recommendations, Sanchez informed Rimek that
       she would not be returning to work.




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99.     On or about August 5, 2016, and unbeknownst to Sanchez» Santander
        terminated Sanchez's health insurance, despite Santander's Human Resource
        Department having previously informed her that her health insurance coverage
        would continue through the first week of September 2016, i.e., one month
       following Sanchez's last day of work.


100.    Santander failed to provide Sanchez with the proper notice and/or option for
       continued coverage in violation of COBRA, which resulted in Sanchez incurring
       significant medical expenses, and prevented her from receiving recommended,
       necessary, and proper medical treatment. Because of this, Sanchez's already
       severe emotionai distress and pain and suffering was greatly exacerbated.

101. By their joint and several acts and omissions, defendants Santander, Agha,
       Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10)
       subjected Sanchez to a hostile work environment and disparate treatment due to
       Sanchez's sex and/or gender (female) in violation of New Jersey's Law Against
       Discrimination (LAD).


102.   By their Joint and several acts and omissions, defendants Santander, Agha,
       Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10)
       subjected Sanchez to a hostile work environment, and disparate treatment due to
       Sanchez's mental health disabilities (anxiety and major depression), and failure
       to reasonably accommodate those disabilities, all in violation of New Jersey's
       LAD.

103. By their joint and several acts and omissions, defendants Santander, Agha,
       Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations-(1-10)
       Sanchez had her right to receive workers' compensation benefits interfered with
       and denied in violation of New Jersey Workers Compensation Laws.




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 104. By their joint and several acts and omissions, defendants Santander, Agha,
      Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10)
      subjected Sánchez to a retaliatory based hostile work environment and
      constructive discharge in violation of New Jersey's Conscientious Employee
      Protection Act (CEPA).
105. By their joint and several acts and omissions, defendants Santander, Agirá,
     Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10) failed
     to pay Sanchez for all time worked over 40 hours in a workweek including
     overtime pay at a rate of one and one-half time her regular hour rate of pay for all
     hours worked in excess of 40 in a workweek.
106. By their joint and several acts and omissions, defendants Santander, Agha,
     Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10),
     Sánchez was involuntarily, constructively, and wrongfully discharged from her
     position of empioyment at Santander.
107. Santander is liable as a matter of taw for the unlawful acts and omissions of
     Agha, Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10).

108. By their joint and several acts and omissions, defendants joint and several acts
     and omissions, defendants Santander, Agha, Joseph, Rimek, John and Jane
     Does (1-10) and XYZ Corporations (1-10) are individually liable under LAD for
     inciting, aiding, and abetting each other's discriminatory conduct as ¡s outlined
     above.
109. By their joint and .several acts and omissions, defendants joint and several acts
     and omissions, defendants Santander, Agha, Joseph, Rimek, John and Jane
     Does (1-10) and XYZ Corporations (1-10) are individually liable under CEPA for
     inciting, aiding, and abetting each other's retaliatory conduct as is outlined above.




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 110,    Because of the joint and several acts and omissions, defendants joint and
         several acts and omissions, defendants Santander, Agha, Joseph, Rimek, John
         and Jane Does (1-10) and XY2 Corporations (1-10), Sanchez has been and
         continues to suffer economic losses and pecuniary damage in the form of lost
         income and benefits past, present and future.

 111. As a result of the joint and several acts and omissions, defendants joint and
        several acts and omissions, defendants Santander, Agha, Joseph, Rimek, John
        and Jane Does (1-*tp) and XY2 Corporations (1-10), Sanchez has been and
        continues to suffer non-economic damages in the form of humiliation, stress,
        anxiety causing her mental and emotional anguish and dysfunction, and physical
        manifestations of same including» but not limited to, nervousness, anxiousness,
        sleeplessness, loss of appetite, anxiety attacks, upset stomach and stomach
        pains all or some of which may be permanent.


                                      CAUSES OF ACTION

                                          FIRST COUNT

                           NEW JERSEY CLASS ACTION GLAtM
                      VIOLATION OF NEW JERSEY WAGE AND HOUR LAWS

 1      Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and
        including 111 of the Complaint as if set forth at length herein.


2.      Plaintiff brings this Count for violation of the New Jersey Wage and Hour Law
        (NJWHL) on behalf of herself, and all other similarly situated current and former
        employees of Santander in New Jersey, to recover for the Defendants' willful
        violation of the New Jersey Wage and Hour Law N.J.SA. 34:11-56.1 to -56.12
        f NJWHL"), the New Jersey Minimum Wage Act ("NJMWA") and the New Jersey
        Wage Payment Law ("NJWPL"),




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 3,    Plaintiffs, and those similarly situated, were subjected to Santander's policy and
       practice of not paying overtime which compelled them to work "off the clock"
       without pay to avoid working in excess of forty (40) hours during a workweek
       thereby triggering overtime provisions in the NJWHL requiring Santander to pay
       these workers pay at a rate of one and one-half times their regular rate for hours
       worked in excess of 40 hours during a workweek,


4.     Under the class action claims brought under the NJWHL, NJMWA, and the
       NJWPL, the proposed Class consists of all persons employed by Santander as
      Operations Managers at any time two years prior to the filing of this action
      through the entry of judgment and who worked in Santander branch offices
      located in New Jersey who worked over 40 hours per week and worked "off the
      clock" without pay and were not paid overtime pay at a rate of one and one-half
      times their regular rate for hours worked in excess of 40 hours during a
      workweek (hereinafter the proposed "NJ Class").

5:    To remedy her damages and the damages of the NJ Class members, Plaintiff
      seeks a declaration that her rights, and the rights of other NJ Glass members
      were violated, and an award of all available statutory damages including, but not
      limited to, unpaid wages, interest, and reasonable attorneys' fees and costs to
      make them whole for damages suffered.

6.    The New Jersey Wage and Hour Law (NJWHL) under N.J.S.A.. 34:11-56a4
      provides in relevant part: "Every employer shall pay to each of his employees'
      Wages at a rate of not less than ,.,for 40 hours of working time in any week andl
      1/2 times such employee's regular hourly wage for each hour of working time in
      excess of 40 hours in any week, except this overtime rate shall not include any
      individual employed in a bona fide executive, administrative, or professional
      capacity,,,," (emphasis added).



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 7.    Plaintiff and the NJ Glass members do not qualify for exemptions under NJWHL
       Thus, she/they is/are not exempt.

8.     Santander failed to pay Plaintiff and the NJ Class members for hours worked
       over forty (40) hours in a week,

9.    New Jersey's Minimum Wage Act (NJMWA) N.J.S.A.. 34M1-58a states; "It is
      declared to be the public policy of this State to .-establish a minimum wage level
      for workers to safeguard their health, efficiency, and general well-being and to
      protect them as well as their employers from the effects of serious and unfair
      competition resulting from wag£ levels detrimental to their health, efficiency aind
      well-being."

         a. Effective January 1, 2014, the minimum Wage rate in New Jersey was $8.25
         per hour,

         b, Effective January 1, 2015, the minimum wage rate in New Jersey was $8,38
         per hour,

         c. Effective January 1, 2016, the minimum wage rate in New Jersey remained
         at $8,38 per hour.

         d, Effective January 1, 2017, the minimum wage rate in New Jersey became
         $8.44 per hour.

10.   By authorizing, permitting or otherwise condoning the practice of Operations
      Managers working "off the clock" without pay for hours worked in excess of 40 in a
      workweek, Santander failed to pay minimum wage for such hours worked in
      violation of NJMWA.


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 11.   The New Jersey Wages Payment Law (NJWPL) requires an employer to pay its
       employees all wages due under the New Jersey Wage and Hour Law (NJWHL)at least
       twice during a calendar month, N.J.SA 34:11-4,2.


12.    The WPL further states the following:

              It shall be unlawful for any employer to enter into or make any
              agreement with any employee for the payment of wages of any such
              employee otherwise than as provided in this act, except to pay wages at
              shorter intervals than as herein provided, or to pay wages in advance.
              Every agreement made in violation of this section shall be deemed to be
              null and void, and the penalties in this act provided may be enforced
              notwithstanding such agreement; and each and every employee with
              whom any agreement in violation of this section shall be made by any
              such employer, or the agent or agents thereof, shall have a right of civil
              action against any such employer for the full amount of his wages in any
              court of competent jurisdiction in this State."

              N.J.S.A. 34:11-4.7.


13.    By authorizing, permitting or otherwise condoning the practice of Operations
       Managers working "off the clock" without pay for hours worked in excess of 40 in a
       workweek, Santander failed to pay minimum wage for such hours worked in
       violation of the NJWPL


14.    Santander's unlawful conduct has been widespread, repeated, and willful.
       Defendant knew or should have known that its policies and practices were
       unlawful and unfair.




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 15.     Because of Defendant's violations of the NJWHL, NJMWA and the NJWPL
         Plaintiff and the NJ Class members have suffered damages by
         being denied pay for all of the hours they worked, by being denied overtime
        wages in accordance with the NJWHL in amounts to be determined at trial,
        and are entitled to recovery of such amounts, prejudgment and post
        judgment interest, reasonable attorneys* fees and costs pursuant to the
        NJWHL

                                      SECOND COUNT

                                   UNJUST ENRICHMENT


1.     Plaintiff re-alleges and incorporates by reference the allegations Plaintiff repeats
       and re-alleges each allegation of paragraphs 1 through and including 111 and the
       First Count of the Complaint as if set forth at length herein.

       By miscfassifying the Plaintiff and similarly situated employees as exempt from
       overtime, Defendant Santander unlawfully failed to pay Plaintiff and the putative
       NJ Class members for hours worked over forty (40) hours in a week for that
       respective period at a rate of 1 1/2 times such employee's regular hourly wage for
       each hour of working time in excess of 40 hours in any week,

3.     By failing to pay Plaintiff and the putative NJ Class members for hours worked
       over forty (40) hours in a week for that respective period at a rate of 1 1/2 times
       such employee's regular hourly wage for each hour of working time in excess of
       40 hours in any week, Santander has been unjustly enriched at the expense of,
       and to the detriment of, Plaintiff and the NJ Class.

4.     By failing to pay Plaintiff and the putative NJ Class members minimum wages for
       hours worked over forty (40) hours in a week, Santander has been unjustly
       enriched at the expense of, and to the detriment of, Plaintiff and the NJ Class,

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5,    It would be inequitable for Santander to be permitted to retain the unpaid wages it
      avoided paying to Plaintiff and the Class overtime wages at a rate of 1 1/2 times
      such employee's regular hourly wage for each hour of working time in excess of
      40 hours in any week. Therefore, Santander should be compelled to disgorge to
      the Plaintiff and the NJ Glass all amounts it retained and received as a result of its
      wrongful and inequitable practices.

6.    It would be inequitable for Santander to be permitted to retain the unpaid wages it
      avoided paying to Plaintiff and the NJ Class minimum wages for hours worked
      over forty (40) hours in a week. Therefore, Santander should be compelled to
      disgorge to the Plaintiff and the NJ Class all amounts it retained and received as a
      result of its wrongful and inequitable practices,

      WHEREFORE, Plaintiff Crystal hereby demand Judgment be entered                    against
Santander as to the First and Second Counts of the Complaint as follows:

            a.     Certifying this case as a class action in accordance with New
                   Jersey Rule of Court R. 4:23-1 (Rule 23) with respect to the
                   NJWHL, NJMWA, NJWPL, and Unjust Enrichment claims set forth
                   above;

            fa.    Declaring that Santander violated its obligations under the NJWHL,
                   NJMWA, and NJPL and its attendant regulations;

            c.     Certifying this matter-to proceed as a class action;

            d.     Granting judgment in favor of Plaintiff and against Santander and
                   awarding the lost overtime compensation calculated at the rate of
                   one and one-half (15) of Plaintiffs regular rate multiplied by all
                   hours that Plaintiff worked in excess of forty (40) hours per week for
                   the past three years;



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                  e.     Judgment for Plaintiffs and the NJ class members for all statutory,
                         compensatory, liquidated and consequential damages, or any other
                         damages authorized by law or equity, sustained because of
                         defendants' unlawful conduct,, as well as prejudgment and post-
                        judgment interest;

                  f.     An award to Plaintiff and the NJ Class members for their
                         reasonable attorneys' fees, costs, including expert fees, and
                         expenses as authorized by law;

                g.       Awarding reasonable attorney fees and costs incurred by Plaintiff in
                        filing this action;

                h.      Such further relief as this court deems appropriate.


                                            THIRD COUNT

                VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION
                (SEX AND DISABLITY DISCRIMINATION -HOSTILE WORK
                ENVIRONMENT. DISPARATE TREATMENT. FAILURE TO
                ACGOMMQDATE. AtDlN0 AND ABETTING LIABILITY AND
                CONSTRUCTIVE DISCHARGE CLAIMS}


1.      Plaintiff repeats and re-alleges each allegation of paragraphs 1-111 as if set forth
        at length herein.

2.      The New Jersey Law Against Discrimination (LAD), NJJxA.. 1(3;5>-1 et seq,.
        prohibits unlawful employment discrimínation/hóstile work environment against any
        person because of, inter. alia ..their sex or disability (hartdieap).


3.      Hostile work environment harassment involves harassing conduct for the purpose
        or effect of unreasonably interfering with an individual's work performance or
       creating an intimidating, hostile, or offensive working environment.




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 4.    Sanchez experienced a severe and pervasive sexually harassing work
       environment while employed at Santanderbecause of her sex (female) and
       disabilities (anxiety disorder and major depression). Accordingly, Sanchez falls
       under the protections of the LAD,

6.    An employer is strictly liable for damages caused by the unlawful harassment
      committed by managers, supervisors, by non-supervisory employees and in some
      instances by third parties if the employer knew or should have known about the
      conduct, had control over the harasser, and failed to take prompt appropriate
      corrective action.

7,    Santanderis strictly liable for damages caused to Sanchezby the unlawful
      harassment committed or permitted by managers, supervisors, and by non-
      supervisory employees nartied in this Complaint as well as others.

9,    Santanderis strictly liable for damages caused to Sanchezby the failure of Agha,
      Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10), and
      other in fríe management team at Santanderand to put a stop to the unlawful
      harassment caused to Sanchez by and others,

10. Santanderis strictly liable for damages caused to Sanchez because it knew or
    should have known about the abuse and harassment of Sanchez» had control over
    other employees who were harassing Sanchez, yet failed to take prompt
    appropriate corrective action to put a stop to the harassment

13. An employer will also be found liable if they fail to establish, publicize, and enforce
    an anti-harassment policy that contains an affective grievance procedure - one that
    is known to the victim and that timely stops the harassment.




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 14. Santanderis liable for damages caused to Sanchezbecause it failed to establish
     reasonably and effectively publicize and enforce an anti-harassment policy that
     contains an efective grievance procedure.

 15. Santanderis liable for damages caused to Sanchezbecause it failed to establish
     reasonably and effectively publicize and enforce policies prohibiting racial and
     sexual based harassment that contains an effective grievance procedure.

16.    SantanderviQlated New Jersey's LAD by failing to put a stop to the sexual
       harassment and hostile work environment Sanchez was subjected to during her
      employment,
17.   Santander violated New Jersey's LAD by allowing the harassment to continue and
      escalate in retaliation for Sanchez reporting that she was subjected to harassment
      and a hostile work environment because of her sex and disabilities,

18.   New Jersey Division of Civil Rights regulations require employers to provide
      reasonable accommodations for the handicapped.N.JACJ3:13-2.5. OCR states
      that this requirement of reasonable accommodation is implicit in the LAD provision
      that an individual may not be denied employment opportunities because of a
      handicap unless the nature and extent of the handicap reasonably precludes job
      performance.

19.   Santander is liable to Sanchez under LAD for failing to reasonably accommodate
      Plaintiffs disabilities,

20.   Agha, Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10),
      or any one or more of them, are liable to Sanchez for inciting, aiding and abetting
      Santander in furtherance of the defendant corporation's failure to reasonably
      accommodate Plaintiffs medical conditions.

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 21,    By their joint and several acts and omissions, defendants Santander, Agha,
        Joseph, Rirnek, John and Jane Does (1-10) and XVZ Corporations {1-10)
        subjected Sanchez to a hostile work environment due to Sanchez'ssex (female)
        and disabilities (anxiety disorder and major depression) in violation of New
        Jersey's LAD,

22,     By their joint and several acts and omissions, defendants Joint and several acts
        and/or omissions, defendants Santander, Agha, Joseph, John and Jane Does (1-
        10) and XY2 Corporations (1-10), Sanchez was involuntarily» constructively, and
       wrongfully discharged from her position of employment at Santander in violation of
       LAD.

23,    Santander is liable as a matter of law for the unlawful acts and/or omissions of
       Agha, Joseph, Rimek, John and Jane Does (1-10) and XYZ Corporations (1-10).

24,    By their joint and several acts and omissions, defendants joint and several acts
       and omissions, defendants Santander, Agha, Joseph,John and Jane Does (1-10)
       and XYZ Corporations (1-10) are individually liable under LAD for inciting, aiding,
       and abetting each other's discriminatory conduct as is outlined above.

25,    The legislature has determined that persons subjected to unlawful discrimination
       may suffer diverse and substantial hardships which give rise to remedies under
       LAD» including compensatory damages; economic lots; physical and emotional
       distress; search and relocation difficulties; anxiety caused by a lack of information,
       uncertainty and resultant planning difficulty; career, education, family and social
       disruption; adjustment problems; and severe emotional trauma, illness,
       hometessness, or other irreparable harm resulting from the strain of employment
       controversies.
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26.   A person subject to unlawful discrimination is also afforded the remedy of punitive
      damages. See N.J.S.A.. 10:5-3.

27,   The legislature has also determined that the prevailing party may be awarded
      reasonable counsel fees. M.J.SA. 10:5-2?. 1.

28»   Because of thejoint and several acts and omissions, defendants joint and several
      acts and emissions» defendants Santander, Agha, Joseph, John and Jane Does
      (1-10) and XYZ Corporations (1-10), Sanchez has been and continues to suffer
      economic losses and pecuniary damage in the form of lost income and benefits
      past, present, and future.

29.   As a result of thejoint and several acts and omissions, defendants joint and
      several acts and omissions, defendants Santander, Agha, Joseph.John and Jane
      Does (1-10) and XYZ Corporations (1-10).Sanchez has been and continues to
      suffer non^conomic damages in the form of humiliation, stress, anxiety causing
      her mental and emotional anguish and dysfunction, and physical manifestations of
      same including, but not limited to, nervousness, anxiousness, sleeplessness, loss
      of appetite, anxiety attacks» upset stomach and stomach pains all or some of
      which may be permanent,

      WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the
      Defendants Santander Holdings USA, Ghous Agha, Nadra Joseph, Kristen
      Rimek, John Doe 1-10, and XYZ Corporations (1-10), Jointly and severally, and
      requests the following relief:




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         a.    Judgment directing the Defendants make Plaintiff whole for all losses she
               has suffered in terms of lost wages (back pay and front pay damages),
               benefits, insurance and pension coverage, and any other fringe benefits of
               her employment;


     b.       Judgment awarding Plaintiff compensatory damages for all probable
              damages and injuries, including emotional distress, suffered because of
              Defendants' failure to prevent or put a stop to the harm caused to Plaintiff
              in violation of New Jersey Law Against Discrimination;


     c.       Judgment awarding Plaintiff punitive damages on the grounds that
              Defendants' acts in failing to prevent the harm caused Plaintiff, as required
              under the law, was especially egregious or that same occurred as a result
              of the wanton and willful disregard for the rights of Plaintiff;


    d.        Judgment awarding Plaintiff accrued interest and costs of suit;


    e.        Directing Defendants to pay Plaintiff Sanchez for all ofher attorneys' fees
              and costs incurred to the full extent permitted under -NJ..S A10:5-1 etseq,
              and Rendine v. Pantzer. 141 NJ. 292 (1995),


    f_        Plaintiff requests equitable relief in the form of the Court declaring that the
              practices of the named Defendants contested herein violate New Jersey
              law as set forth herein;




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         g.     Plaintiff requests equitable relief In the form of tie Court ordering the
                named Defendants to cease and desist ail conduct inconsistent with the
                claims made herein going forward, both as to the specific Plaintiff and as to
                all other persons similarly situated;


         h>     Granting Plaintiff such relief as the Court deemsjust and proper.


                                         FOURTH COUNT


                VIOLATION OF NEW JERSEY CONSOENTUOUS EMPLOYEE
                PROTECTION ACT - HOSTILE WORK ENVIRONMENT. FAILURE TO
                PROVIDE A PROMISED RAISE. AIDING AND ABETTING LIABILITY
                AND CONSTRUCTIVE DISCHARGE CLAIMS)


1.      Plaintiff repeats and re-alleges each allegation of paragraphs 1-111 as if set forth at
        length herein,


2.      New Jersey's Conscientious Employee Protection Act (CEPA) allows an employee
        an action for retaliation when the employee discloses, threatens to disclose, objects
        to» or refuses to participate in certain actions that the employees reasonably believe
        are either illegal or a violation of public policy and is then subject to a course of
        retaliator conduct by the employer.


3.      Sanchez disclosed to defendants Joseph,John and Jane Does (1-10) and XYZ
        Corporations (1-10), her reasonable belief that Agha was the cause of the
        depletion of large denominations in Santander's vault, that is, he was embezzling
        and otherwise stealing money from the bank.




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4.   Sanchez is a person protected under CEPA as the acts that she complained of are
     violations of faw and regulations and rules related thereto and/or violations of clear
     mandates of public policy,

5.   Shortly after making her disclosures, Sanchez was subject to retaliation in the form
     of a hostile work environment, denial of a promised pay raise, and constructive
     discharge from employment.


6.   Santander is liable as a matter of law for the unlawful acts and/or omissions of
     Agha, Joseph, Rirnek, John and Jane Does (1-10) and XYZ Corporations (1-10).

7.   By their joint and several acts and omissions, defendants joint and several acts
     and omissions» defendants Santander, Agha, Joseph,John and Jane Does (1-10)
     and XYZ Corporations (1-10) are individually liable under CEPA for inciting, aiding
     and abetting each other's retaliatory conduct as is outlined above.

8.   The legislature has determined that persons subjected to unlawful discrimination
     may suffer diverse and substantial hardships which give rise to remedies under
     CEPA, including compensatory damages: economic loss; physical and emotional
     distress; search and relocation difficulties; anxiety caused by a lack of information,
     uncertainly and resultant planning difficulty; career, education, family and social
     disruption; adjustment problems; and severe emotional trauma» illness,
     hometessness, or other irreparable harm resulting from the strain of employment
     controversies.




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9,      Because of thejúiní and several acts and omissions, defendants joint and several
       acts and omissions, defendants Santander, Agha, Joseph, John and Jane Does
       (1-10) and XYZ Corporations (1-10), Sanchez has been rendered vocationally
       disabled, and has and continues to suffer economic losses and pecuniary damage
       in the form of lost income and benefits past, present and future.

10.   As a result of the joint and severa! acts and omissions, defendants Joint and
      several acts and omissions, defendants Santander, Agha, Joseph.John and Jane
      Does (1-10) and XYZ Corporations (1-1Q)«Sanehez has been and continues to
      suffer non-economic damages in the form of humiliation, stress, anxiety causing
      her mental and emotional anguish and dysfunction, and physical manifestations of
      same including, but not limited to, nervousness, anxipusness, sleeplessness, loss
      of appetite, anxiety attacks, upset stomach and stomach pains all or some of
      which may be permanent,

      WHEREFORE» Plaintiff Crystal Sanchez demands judgment against the
      Defendants Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen
      Rimek, John Doe 1-10, and XYZ Corporations (1-10), jointly and severally, and
      requests the following relief:

      a.    Directing the Defendants to make Plaintiff Sanchez whole for any arrd all
            losses she has suffered in the past, present and in the future in terms of
            lost wages, benefits, insurance and pension coverage, and any other
            fringe benefits of his employment;

      b.    Directing the Defendants, in lieu of reinstating Plaintiff Sanchez to her
            former position with Santander, to fully compensate her with front pay and
            benefits for the retaliatory acts;

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    c.    Directing Defendants to pay Plaintiff Sanchez compensatory and
          consequential damages for all non-economic damages including, but not
          limited to, mental and emotional distress damages, suffered as a result of
          Defendants' retaliatory acts in violation of Mew jersey Conscientious
          Employee Protection Act;

    d.   Directing the Defendants to pay Plaintiff Sanchezpunitive damages
         because the acts of Defendants and its agents, servants and employees
         were especially egregious, evil minded and/or were committed with a
         wanton and willful disregard for the rights of Plaintiff;

    e.   Directing Defendants to pay Plaintiff Sanchezfor all her attorneys' fees and
         costs incurred to the full extent permitted under MJ.SA34:19-1 et sea.
         and Rendtae v. Pantzer. 141 hLL 292(1995).

   f.    Awarding interest and costs of suit;

    g.   Plaintiff requests equitable relief in the form of the Court declaring that the
         practices of the named Defendants contested herein violate New Jersey
         law as set forth herein;

   h.    Plaintiff requests equitable relief in the form of the Court ordering the
         named Defendants to cease and desist all conduct inconsistent with the
         claims made herein going forward, both as to the specific Plaintiff and as
         to all other persons similarly situated;

   1     Plaintiff requests equitable relief in the form of the Court
         OrderingDefendant Santander to expunge and other purge from its fifes

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                and récords including, but not limited to, Plaintiffs personnel file
                maintained by the said Defendant any reference which violates the
                statutes implicated in the above captioned action; and


         j.     Granting Plaintiff such relief as the Court deems just and proper,


                                        FIFTH COUNT

                         COMMON LAW PUBLIC POLICY CLAIM
                                 (PIER6E CLAIM}

1.       Plaintiff repeats each allegation set forth in paragraphs 1-111 and the Second
         Count of the Complaint as if set forth at length herein.

2.       In Pierce v. Qrtho Pharmaceutical Corp.. 84 NJ. 50, 72 (1980) the Supreme
         Court established a New Jersey public policy exception to at-will-employment
        The Supreme Court established that:

               An employee has a cause of action fln tort or contract or bothj for
               wrongful discharge when the discharge is contrary to a clear
                mandateof public policy. The sources of public policy include
                legislation; administrative rules, regulations, and decisions; and
               judicial decisions. In certain instances, a professional code of ethics
               may contain an expression of public policy,

3.      The public policies of the State of New Jersey underpinning Plaintiff Sanchez's
        complaints are found, inter, alia, in the statutes, codes, and regulations
        applicable to business practices, fraud, and international law.


4.      The above facts establish a public policy violation.




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 5.    Because of the retaliatory actions undertaken by Santander, Agha, Joseph, John
       and Jane Does (1-10) and XY1 Corporations (1-10), jointly or severally, Plaintiff
       Sanchez has been and continues to suffer economic losses and pecuniary
       damage in the form of lost income and benefits past, present and future.


8.     Because of the retaliatory actions undertaken by Santander, Agha, Joseph» John
       and Jane Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff
       Sanchez has been and continues to suffer non-economic damages in the form of
       humiliation, stress, anxiety causing her mental and emotional anguish and
      dysfunction, and physical manifestations of same including, but not limited to,
       nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks, upset
      stomach and stomach pains all or some of which may be permanent




      WHEREFORE, Plaintiff        Donna Domingo demands judgment against the
      Defendants Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen
      Rimek, jointly or severally, for compensatory, consequential, and punitive
      damages, reasonable attorney fees, Interest, costs of suit and such other relief
      the Court deems equitable and just


                                         SIXTHCOUNT
                        ViOLATtQN OF N.J.S.A. 34:15-39.1 ET> SEQ.
                      (WORKER'S COMPENSATION RETALIATION}


1.    Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and
      including 111 of the Complaint as if set forth at length herein.

2.    The New Jersey Workers Compensation Act, N.J.S.A. 34:15-1 et. sea., ("the
      Act") requires employers to compensate their employees for personal injuries

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      caused by an Occident arising out of and in the course of their employment,w
      without proof of fault,
3.   it Is unlawful under the Act for an employer to discharge or discriminate against
     an employee because such employee has claimed or attempted to claim
     worker's compensation benefits from his employer.

4.   For violations of the Act, employers are subject to fines and/or Imprisonment of
     up to 60 days.

5.   The Act provides for reinstatement with back pay for any employee who is the
     subject of such discrimination.

6.   An employee discharged because such discrimination has a common-law right of
     action for wrongful discharge.

7.   Because of the unlawful joint and several acts and/or omissions of Defendants
     Santander» Agha, Joseph, John and Jane Does (1-10) and XYZ Corporations (1-
     10), Sanchez has and continues to sustain economic loss and pecuniary harm.

8.   As a result of the Joint and several acts and omissions of the Defendants,
      Santander, Agha, Joseph, John and Jane Does (1-10) and XYZ Corporations (1-
      10), Sanchez has been and continues to suffer non-economic damages in the
     form of humiliation, stress, anxiety causing her mental and emotional anguish
     and dysfunction, and physical manifestations of same including, but not limited
     to, nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks,
     upset stomach and stomach pains all or some of which may be permanent.




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          WHEREFORE, Plaintiff Crystal Sanchez demands judgment against                the
          Defendants Santander Holdings USA, Ghous Agha, Nadia Joseph, Kristen
          Rimek, jointly or severally, for compensatory, consequential, and punitive
         damages, reasonable attorney fees, interest, costs of suit and such other relief
         the Court deems equitable and Just


                                     SEVENTH COUNT
              FRAUDULENT INDUCEMENT ANP PROMISSORY ESTOPPEL


 1.      Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and
         including 111 of the Complaint as if set forth at length herein,


2.       In or about February 2016, Santander and Joseph made a clear and definite
         promise to Sanchez that Sanchez would receive a raise to $16,QQ/hour in six
         months so long as she doubled her sales and maintained sound operations
         within the branch as she had been.
3.       In reliance on this promise, Crystal accepted a position as Operations Manager,


4.       Had Santander and Joseph not made this promise, Crystal would not have
         accepted the position of Operations Manager and would have instead remained
         a full-time bank teller.


5.       Santander and Joseph made this promise to Sanchez with the expectation that
         Sanchez would rely on the promise,


6.      There after, Sanchez reasonably relied on the promise made by Santander and
        Joseph as evidenced by the fact that she more than doubled her sales and
        maintained excellent bank operations.


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7.     Despite the clear promise and agreement between them, Santander Joseph
       reneged on their promise, and breached their agreement by refusing to grant
       Sanchez the raise.

8.     Santander and Joseph never had any intention of honoring the promises and
       agreement Joseph made with Sanchez,


0,    Santander and Joseph made misrepresentations to Sanchez solely to induce
      Sanchez into accepting the Operations Manager position for a lower rate of pay
      than Sanchez wanted.


10.   Because of Joseph's intentional and knowing misrepresentations, Sanchez has
      and continues to sustain economic loss and suffer from severe mental and
      emotional distress

11.   Because of the unlawful acts and omissions ofSantander and Joseph, John and
      Jane Does (1-10) and XY2 Corporations (1-10), jointly or severally, Plaintiff has
      been and continues to suffer economic losses and pecuniary damage in the
      form of lost Income and benefits past, present and future,

12. As a result of the unlawful acts and omission ofDefendantsSantander, Joseph,
    John and Jane Does .(1-10) and XYZ Corporations (1-10), jointly or severally,
    Plaintiff has been and continues to suffer non-economic damages in the form of
    humiliation» stress, anxiety causing her mental and emotional anguish and
    dysfunction, and physical manifestations of same including, but not limited to,
    nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks,
    upset stomach and stomach pains all or some of which may be permanent.


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        WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the
       Defendants Santander Holdings USA and Madia Joseph, jointly or severally» for
       compensatory, consequential, and punitive damages, reasonable attorney fees,
       interest, costs of suit and such other relief the Court deems equitable and just.

                                    EIGHTHCOUNT
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


 1,    Plaintiff repeats and re-alleges each allegation of paragraphs 1 through and
       including 111 and the First through and including Eighth Counts of the
       Complaint as if set forth at length herein.

 2.    The acts of the DefendantsSantander, Joseph.John and Jane Does (1-10) and
       XYZ Corporations (1-10), jointly or severally, was done with malice, intent and/
       or with the reckless indifference to causing Plaintiff Sanchez emotional distress.


3.    Because of the unlawful acts and omissions ofSantander» Agha, Joseph, John
       and Jane Does (1-10) and XYZ Corporations (1-10), jointly or severally, Plaintiff
       has been and continues to suffer economic losses and pecuniary damage in the
      form of lost income and benefits past, present, and future.


4.    As a result of the unlawful acts and omission ofDefendantsSantander, Agha,
      Joseph, John and Jane Does (1-10) and XYZ Corporations (1-1Q),jointly or
      severally, Plaintiff has been and continues to suffer non-economic damages in
      the form of humiliation, stress, anxiety causing her mental and emotional anguish
      and dysfunction» and physical manifestations of same including, but not limited
      to, nervousness, anxiousness, sleeplessness, loss of appetite, anxiety attacks,
      upset stomach and stomach pains all or some of which may be permanent




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      WHEREFORE, Plaintiff Crystal Sanchez demands judgment against the
      Defendants Santander Holdings USA, Ghous Agha, Madia Joseph, Kristen
      Rimek, jointly or severally, for compensatory, consequential, and punitive
     damages, reasonable attorney fees, interest, costs of suit and such other relief
     the Court deems equitable and just


                                            MASHEL.tAW.LLe.
                                            Attorneys for Plaintiff CrystalSanehez



Dated: June 20, 2017                  By;     <^—--^
                                            STEPtfAN T^MAgfiEL



                                       JURY DEMAND
                                               7
      Plaintiff hereby demands a trial byjury on all issues triable in this action.


                             DESiGNATED TRIAL ATTORNEY


    Stephan T. Mashel, isquire is hereby designated as plaintiff s trial attorney.




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                                         CERTIFICATION


          I hereby certify to fie best of my personal knowledge that trie matter in controversy is
 not the subject of any other action pending in any Court or of a pending arbitration
 proceeding, nor is any other action or arbitration contemplated, nor any other parties to be
 Joined EXCEPT for the Joinder of the trae persons in interest whose names are identified
 herein as defendants and John Does (1-10) and Ron Roe (1-10).

                                            MASNEL LAW, LLC,
                                           Attorneys for Plaintiff Crystal Sanchez



 Dated: June 29,3017
                                           SJgPfiAN "E^MASHEL



                    NOTICE PROHIBITING SPOLIATION OF EVIDENCE


         PLEASE TAKE NOTICE, failure to prevent spoliation of evidence can result in severe
sanctions being imposed by the Court. Furthermore, your obligations to preserve documents
and things for discovery in this case arise in law and equity independent of any Order of court
or notice from our office. You are hereby placed on notice not to destroy, conceal or alter any
paper or electronic files and other data generated by and/or stored on computers and storage
media (e.g., hard drives, hard disks, floppy disks, backup tapes, email accounts), or any
other electronic data maintained by the named defendants, such as surveillance or voice
mail, that may be construed in any manner as potentially discoverable information in this
litigation.


                         (A) AS TO THE PRESERVATION OF
                       VIDEOS, SURVEILLANCE MATERIALS,
                        OUT-TAKES. PHOTOGRAPHS. ETC.:

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       In accordance with the above request for the avoidance of spoliation of any evidence
 please be further guided by the following specific request for preservation.

         a. All photographs, slides, videotapes, or audiotapes, transcripts, or memoranda
            thereof, and/br motion pictures, surveillance photographs/motion pictures, out-
            takes, tape recording, movies, visual, optical and/or audio and/or magnetic
            reproductions of descriptions of plaintiff purporting to depict the plaintiff,
            plaintiffs activities, actions, speech, etc.;

         b< All photographs of the scene of the underlying occurrence;

         c. The time records, records of amount of footage of film or videotape used; the
            type of equipment used to take, develop, and convert such film or videotape;
            the make and model of all equipment, lenses and range settings employed by
            defendant{s) and/or defendantC'sMs1) photographers, investigators, and/or other
            used or associated in conjunction with the surveillance, tape recordings, etc., of
            the plaintiff and all memoranda pertaining thereto.

    NOTEilf the defendant(s) fails to preserve and/or otherwise disclose such surveillance
materials (using the words genericaliy), then plaintiff may:
      (1) Move at the trial to exclude all such surveillance and its by-products; and/or

      (2) Move to exclude/suppress all of plaintiffs deposition testimony relating to the
          improperly suppressed/undisclosed pre-deposition surveillance materials and its
          progeny; and/or




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      EXHIBIT B
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    Keith J. Rosenblatt (N.J. Bar No. 016631997)
    Rachel A. Seaton (N.J. Bar No. 021842011)
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    Attorneys for Defendants
    Santander Bank, N.A. and Nadia Joseph

                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

    CRYSTAL SANCHEZ,                                         Civil Action No. [to be assigned]

                         Plaintiff,

    vs.                                                  CERTIFICATION OF RYAN MORIN

    SANTANDER BANK, N.A., a subsidiary of
    Santander Holdings, USA, Inc.; GHOUS AGHA;
    NADIA JOSEPH; KRISTEN RIMEK; JOHN &
    JANE DOE 1-10; XYZ CORPORATION (1-10)

                         Defendants.

    RYAN MORIN, of full age, hereby certifies as follows:

           1.     I am currently the Senior Vice President, Human Resources Head of

    Compensation for Santander Bank, N.A. ("Santander" or the "Bank"). I have worked for

   the Bank in HR Compensation since December 2015. This certification is based on my

   personal knowledge and a review of Santander records maintained in the regular and

   ordinary course of business.

          2.      In my role as SVP, HR Head of SBNA Compensation, I have personal

   knowledge regarding Santanders pay practices and the wages paid to Santander's

   employees.    I have regular access to employment and payroll data concerning

   Santander's employees, including information about employees' current and former

   compensation rates as well as the number of employees in each role.
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              3.        Crystal Sanchez is a former Branch Operations Manager ("BOM'") who

    worked for Santander in the state of New Jersey, at a branch located at 920 Route 9 in

    South Amboy, New Jersey. Ms. Sanchez resigned her employment in or about August of

    2016.

             4.         Based on a preliminary review of Santander"s business records, it appears

    that in the state of New Jersey, Santander employed 148 BOMs in 2015, 143 in 2016 and

    142 in 2017.

              5.        Since 2015, the hourly compensation rates of the BOMs have varied

    across the New Jersey branches based on several factors including internal and external

    experience, location of branch, etc. The average hourly rate for a BOM was $17.28 in

    2015, $17.39 in 2016 and $18.21 in 2017.

             I certify under penalty of perjury that the foregoing is true and correct.



    Executed on: August 4, 2017
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